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                                  BOX.COM INSTRUCTIONS

 Box.com allows evidence admitted at trial to be easily viewed via a large screen monitor by the
 jury during deliberations. Box.com reduces the need to handle physical evidence while allowing
 the jury to view evidence multiple times, play audio and video recordings, and zoom in on
 pictures and documents. Box.com will NOT be used to present evidence in the courtroom.
 Counsel and pro se litigants will be responsible for presenting their evidence to the Court and the
 jury during the course of the trial.
 ______________________________________________________________________________
                          SUBMITTING EXHIBITS TO THE COURT

 The Courtroom Deputy will email a link to counsel for the parties and pro se litigants. The link
 will include an invitation to create a free Box.com account. Once the account has been created,
 counsel and pro se litigants will have the ability to upload their exhibits to their appropriate
 folder. Counsel and pro se litigants must upload all proposed exhibits to Box.com by
 October 21, 2021.

 Each of the files uploaded must be saved using the naming convention described below. It is the
 responsibility of counsel that exhibits used during trial coincide in exhibit number to the exhibits
 uploaded to Box.com.
 ______________________________________________________________________________
                                   ACCEPTABLE FILE TYPES
 ∙ Documents: .pdf
 ∙ Images: .pdf, .jpeg, .bmp, .tif, .gif
 ∙ Video and audio recordings: .avi, .mpg, .mp3, .mp4, .wav, .wma, .wmv
 ______________________________________________________________________________
                             REQUIRED NAMING CONVENTIONS

 Exhibit files must be named using the following format:
 Party_exhibit number_brief description.file extension

 Note: The file names given by counsel will be visible to the jury. In addition, leading zeros
 must be used for exhibit numbers to allow the exhibits to be listed in numerical order.

 Examples:
 Pltf_001-a_photo of store from east view.jpeg
 Pltf_001-b_photo of store from west view.jpeg
 Def_002_camera footage.wmv
 Def_003_contract.pdf
 …
 Def_099_invoice document dated 3-12-2019
 ______________________________________________________________________________
                               ADDITIONAL INFORMATION

 Documents and images must not exceed file size of 50 MB.
 After October 21, 2021, any changes to exhibits will need to be discussed with Heidi Wheeler.
